Case 1:18-cr-20685-KMW Document 105 Entered on FLSD Docket 05/23/2019 Page 1 of 3



                     IN THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF FLORIDA (MIAMI DIVISION)


   UNITED STATES OF AMERICA                                 Case No.: 1:18-cr-20685-KMW

                  v.

   ABRAHAM EDGARDO ORTEGA,

                  Defendant.



                 JOINT STIPULATION FOR SUBSTITUTION OF COUNSEL

         WHEREAS since January 10, 2019, Juan Guaidó has assumed the office of Interim

  President of the Bolivarian Republic of Venezuela (the “Republic”) pursuant to Article 233 of

  the Venezuelan Constitution;

         WHEREAS on January 23, 2019, President Donald Trump issued a statement officially

  recognizing Mr. Guaidó as Interim President of the Republic and rejecting the legitimacy of the

  regime of Nicolas Maduro;

         WHEREAS on February 26, 2019, the National Assembly of the Republic approved the

  designation of José Ignacio Hernández González as Special Attorney General to represent the

  interests of the Republic, state-owned companies, and other decentralized entities of the public

  administration outside of Venezuela;

         WHEREAS the National Assembly of the Republic has renounced the authority of Mr.

  Maduro and his appointee Reinaldo Muñoz Pedroza;

         WHEREAS the undersigned agree that, in light of these facts, Mr. Hernandez has

  exclusive authority to appoint and direct counsel for the Republic in the United States;
Case 1:18-cr-20685-KMW Document 105 Entered on FLSD Docket 05/23/2019 Page 2 of 3



         WHEREAS on May 22, 2019, Mr. Hernandez sent a letter to William R. Tunkey of

  William Tunkey P.A. and Joseph Nascimento of Ross Amsel Raben Nascimento, PLLC stating

  that he was “terminat[ing] any attorney-client relationship that may have existed between the

  Republic and” Mr. Tunkey, Mr. Nascimento, and their firms in connection with this case,

  “effective immediately” (see D.E. 104, Ex. A);

         WHEREAS Mr. Hernandez further stated that the Republic would henceforth be

  represented in this case “solely by the law firm of Arnold & Porter Kaye Scholer, LLP”;

         IT IS HEREBY STIPULATED by and between the undersigned that Jason A. Ross, Kent

  A. Yalowitz, Arturo Caraballo, Sally L. Pei, Stephen K. Wirth, and Avishai D. Don of Arnold &

  Porter Kaye Scholer, LLP shall be substituted as counsel of record on behalf of the Bolivarian

  Republic of Venezeula, and William R. Tunkey of William Tunkey P.A. and Joseph Nascimento

  of Ross Amsel Raben Nascimento, PLLC shall be relieved of any further responsibility in

  connection with this action.
Case 1:18-cr-20685-KMW Document 105 Entered on FLSD Docket 05/23/2019 Page 3 of 3



   WILLIAM TUNKEY P.A.                      ARNOLD & PORTER KAYE SCHOLER, LLP

   By: /s/ William R. Tunkey                By: /s/ Jason A. Ross
   William R. Tunkey                        Jason A. Ross
   2250 Southwest Third Avenue, 4th Floor   Arturo Caraballo
   Miami, Florida 33129                     Sally L. Pei
   Telephone: +1 305.858.9550               Stephen K. Wirth
   bill@tunkeylaw.com                       Avishai D. Don
                                            601 Massachusetts Ave., N.W.
                                            Washington, DC 20001-3743
   ROSS AMSEL RABEN NASCIMENTO, PLLC        Telephone: +1 202.942.5000
                                            Fax: +1 202.942.5999
   By: /s/ Joseph Nascimento                jason.ross@arnoldporter.com
   Joseph E. Nascimento                     arturo.caraballo@arnoldporter.com
   2250 Southwest Third Avenue, 4th Floor   sally.pei@arnoldporter.com
   Miami, Florida 33129                     stephen.wirth@arnoldporter.com
   Telephone: +1 305.858.9550               avishai.don@arnoldporter.com
   joenascimento@crimlawfirm.com
                                            Kent A. Yalowitz
                                            250 West 55th Street
                                            New York, NY 10019-9710
                                            Telephone: +1 212.836.8000
                                            Fax: +1 212.836.8689
                                            kent.yalowitz@arnoldporter.com
